Case 1:21-cv-10385-CPO-MJS Document 16 Filed 06/17/22 Page 1 of 5 PageID: 165



                                                             [Doc. No. 10]

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE


 STRIKE 3 HOLDINGS, LLC,

                      Plaintiff,

       v.                                Civil No. 21-10385 (CPO/MJS)

 JOHN DOE SUBSCRIBER ASSIGNED
 IP ADDRESS 96.248.100.147,

                      Defendant.


                                   ORDER

      This matter is before the Court on the motion to quash

plaintiff’s subpoena [Doc. No. 10] filed by defendant John Doe

Subscriber Assigned IP Address 96.248.100.147. The Court is in

receipt of plaintiff’s opposition [Doc. No. 12] and supplemental

letter [Doc. No. 15]. The Court exercises its discretion to decide

defendant’s motion without oral argument. See Fed. R. Civ. P. 78;

L. Civ. R. 78.1. For the reasons set forth herein, defendant’s

motion to quash is DENIED as moot.

Background

      This case is one of many in this District alleging copyright

infringement for the unauthorized downloading and distribution of

adult motion pictures across the BitTorrent network. Plaintiff

Strike 3 Holdings, LLC (“Plaintiff” or “Strike 3”) filed this


                                     1
Case 1:21-cv-10385-CPO-MJS Document 16 Filed 06/17/22 Page 2 of 5 PageID: 166



action   on   April   28,   2021,   alleging   that    defendant   John   Doe

subscriber      assigned      Internet      Protocol     (“IP”)     address

96.248.100.147        (“Defendant”)       downloaded     and   distributed

Plaintiff’s motion pictures in violation of the U.S. Copyright Act

of 1976, as amended, 17 U.S.C. §§ 101, et seq. See Compl. [Doc No.

1].

      After Plaintiff filed its complaint, it brought a “Motion for

Leave to Serve a Third Party Subpoena Prior to a Rule 26(f)

Conference” [Doc. No. 4]. The motion sought leave to serve a

subpoena on Defendant’s Internet Service Provider (“ISP”), Verizon

Internet Services (“Verizon”), requesting “the name and address of

the subscriber assigned this IP address at the exact date and time

of one (1) instance of recorded infringement[.]” Br. at 3 [Doc.

No. 4-1]; see also Proposed Order at 2 [Doc. No. 4-5]. The Court

found good cause to grant the motion and authorized Plaintiff to

serve a Rule 45 subpoena on Verizon to learn the name and address

of the subscriber associated with the IP address allegedly used to

infringe on Plaintiff’s Works. See Opinion and Order. [Doc. No.

8]. Defendant now moves to quash Plaintiff’s subpoena under Fed.

R. Civ. P. 45(d)(3)(A)(iv).

Discussion

      Federal Rule of Civil Procedure 45 governs the issuance,

service, and enforcement of subpoenas. Pursuant to Rule 45(d)(3),

a court is required to quash or modify a subpoena that: (i) fails

                                      2
Case 1:21-cv-10385-CPO-MJS Document 16 Filed 06/17/22 Page 3 of 5 PageID: 167



to allow a reasonable time to comply; (ii) requires a person to

comply beyond the geographical limits specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter,

if no exception or waiver applies; or (iv) subjects a person to

undue burden. Fed. R. Civ. P. 45(d)(3)(A)(i)-(iv). “The party

seeking to quash the subpoena bears the burden of demonstrating

that the requirements of [Rule 45] are satisfied.” Malibu Media,

LLC v. John Does # 1-30, No. 12-3896, 2012 WL 6203697, at *2

(D.N.J. Dec. 12, 2012) (quoting Malibu Media, LLC v. John Does 1-

15, No. 12-2077, 2012 WL 3089383, at *5 (E.D. Pa. July 30, 2012)).

A court also has the authority to quash or modify a subpoena if it

falls outside the scope of permissible discovery, as defined by

Federal Rule of Civil Procedure 26(b)(1). Strike 3 Holdings, LLC

v. DOE, No. 21-11418, D.E. 15, at *3 (D.N.J. Sept. 8, 2021) (citing

Schmulovich v. 1161 Rt. 9 LLC, No. 07-597, 2007 WL 2362598, at *2

(D.N.J. Aug. 15, 2007). In addition, “[a]ll discovery is subject

to   the   limitations   imposed   by       Rule   26(b)(2)(C).”   New   Jersey

Physicians United Reciprocal Exch. v. Boynton & Boynton, Inc., No.

CIV.A. 12-5610 FLW, 2014 WL 4352327, at *4 (D.N.J. Sept. 2, 2014).

      Here, Defendant does not assert that the material in question

is privileged or subject to a proprietary or privacy interest.

Rather, Defendant challenges the subpoena under Fed. R. Civ. P.

45(d)(3)(A)(iv), arguing that compliance would impose an undue

burden because she was “improperly identified”. See Mot., Proposed

                                        3
Case 1:21-cv-10385-CPO-MJS Document 16 Filed 06/17/22 Page 4 of 5 PageID: 168



Order. More specifically, Defendant urges the Court to quash the

subpoena “due to the fact that the IP address identified by

PLAINTIFF in its Subpoena does not belong to PETITIONER nor to any

member   of     PETITIONER’s   family       and    the   perpetrator        may   have

downloaded PLAINTIFF’s film illicitly using PETITIONER’S wireless

network unbeknownst to PETITIONER.” Mot. at ¶ 12. In opposition,

Plaintiff contends the motion is moot and that, in any event,

Defendant’s undue burden argument is untenable. See Br. in Opp.

      As discussed, the Court previously found good cause to allow

Plaintiff to serve a subpoena on Defendant’s ISP to obtain the

name and address of the anonymous subscriber assigned the IP

address allegedly used to infringe on Plaintiff’s Works. See Doc.

No. 8. In the instant motion to quash, however, Defendant revealed

the very identifying information requested by the subpoena – her

name and address 1 - thereby satisfying the purpose of the subpoena. 2

Simply   put,    the   Court   cannot   now       un-ring    this   bell.    Because

Defendant’s name and address are now in Plaintiff’s possession,

the Court cannot provide any further effective relief. The motion



1  This means that John Doe Subscriber                      Assigned   IP    Address
96.248.100.147 is actually Jane Doe.
2 The Court further notes that Defendant did not file the motion
under seal or attempt a redaction so as to conceal the identifying
information. The fact that the information has been disclosed on
the docket is not a secret, either. Plaintiff filed its brief in
opposition three (3) days after Defendant brought the instant
motion, which advised of the disclosure.


                                        4
Case 1:21-cv-10385-CPO-MJS Document 16 Filed 06/17/22 Page 5 of 5 PageID: 169



is   denied   as   moot   and   further   analysis    under   Rule   45   is

unnecessary. 3

Conclusion

      For the reasons set forth herein, IT IS on this 17th day of

June 2022 hereby ORDERED that the motion to quash Plaintiff’s

subpoena [Doc. No. 10] filed by defendant John Doe Subscriber

Assigned IP Address 96.248.100.147 is DENIED as moot.



                                   s/ Matthew J. Skahill
                                   MATTHEW J. SKAHILL
                                   United States Magistrate Judge

At: Camden, New Jersey




3 See Strike 3 Holdings, LLC v. Doe, No. 18-14114, D.E. 31, at *7
(D.N.J. June 14, 2019) (concluding “defendant rendered his motion
moot by filing the information sought by plaintiff’s subpoena on
the public docket, and taking no action to protect the information
after the disclosure was brought to his attention.”); Strike 3
Holdings, LLC v. Doe, No. 21-4023, D.E. 8 at ¶ 8 (E.D. Pa. Oct.
25, 2021) (finding defendant’s motion to quash was moot because
“[b]y filing the Motion to Quash, Defendant identified himself and
his address, thereby satisfying the purpose of the subpoena”);
Strike 3 Holdings, LLC v. Doe, No. 19-2473, D.E. 8 at ¶ 4 (E.D.
Pa. Aug. 20, 2019) (finding defendant’s motion to quash was moot
where defendant revealed his name and address, which was the very
information Strike 3 sought in its subpoena); see also UN4 Prods.,
Inc. v. Does 1-15, No. 17-2768, 2017 WL 5885779, at *3 (E.D. Pa.
Nov. 29, 2017) (finding that defendant’s disclosure of information
requested by plaintiff’s subpoena to third-party provider
prevented the Court from providing any effective relief); First
Time Videos, LLC v. Does 1-500, 276 F.R.D. 241, 248 n.7 (N.D. Ill.
2011) (noting that where a defendant failed to file a motion to
quash an ISP anonymously, they “very nearly rendered [defendant’s
motion] moot.”).
                                     5
